Case 6:20-cv-01657-CEM-DAB Document 155 Filed 03/02/23 Page 1 of 5 PageID 1483




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

 COMMODITY FUTURES
 TRADING COMMISSION,                                             Case No. 6:20-cv-1657

          Plaintiff,


 v.
 HIGHRISE ADVANTAGE, LLC, BULL
 RUN ADVANTAGE, LLC, GREEN
 KNIGHT INVESTMENTS, LLC, KING
 ROYALTY LLC, SR&B INVESTMENT
 ENTERPRISES, INC., AVINASH
 SINGH, RANDY ROSSEAU, DANIEL
 COLOGERO, HEMRAJ SINGH and
 SURUJPAUL SAHDEO,

       Defendants.
 ________________________________________


                RESPONSE TO THE COURT’S ORDER TO SHOW CAUSE AND
                    NOTICE OF HEARING DATED FEBRUARY 28, 2023

          Jeffrey M. Garber, Esq., files this Response to the Court’s Order to Show Cause and

 Notice Of Hearing Dated February 28, 2023 [DE 154], and states as follows:

      EFFORTS TO NOTIFY AVINASH SINGH AND HIGHRISE ADVANTAGE, LLC

          1.       On February 25, 2023, the undersigned sent an email to AVINASH SINGH

 (“SINGH”) and HIGHRISE ADVANTAGE, LLC (HIGHRISE”), at their last known email

 address [avisingh19821@gmail.com] (Exhibit 1 attached hereto).

          2.       On February 25, 2023 (at 2:02 PM) the undersigned sent a text message to SINGH’s

 last known cell phone number (321-945-6096) which message included the substance as set forth

 the February 25 email.


                                                     Page 1 of 5
 Commodity Futures Trading Commission v. Highrise Advantage, LLC, et al
 Case No.: 6:20-cv-01657
 Response to Order to Show Cause
Case 6:20-cv-01657-CEM-DAB Document 155 Filed 03/02/23 Page 2 of 5 PageID 1484




          3.       On February 27, 2023, the undersigned sent a letter to AVINASH SINGH

 (“SINGH”) and HIGHRISE ADVANTAGE, LLC (HIGHRISE”), at their last know addresses

 (Exhibit 2 attached hereto) by U.S. Mail & Federal Express-Next Day Delivery (copies of the

 delivery records are attached hereto collectively as Exhibit 3).

          4.       Subsequent to sending the letter (Exhibit 2 attached hereto), the undersigned

 counsel discovered that the Avinash Singh of West Palm Beach to whom the letter was addressed

 is not the SINGH who is the defendant in this action.

          5.       On February 27, 2023 (at 12:36 PM) the undersigned called SINGH’s last known

 cell phone number (321-945-6096), and received a prerecorded message (“The person you are

 calling cannot accept calls at this time; we’re sorry for any inconvenience this may cause.”).

          6.       On February 28, 2023 (at 2:13 PM) the undersigned called SINGH’s last known

 cell phone number (321-945-6096), and received a prerecorded message (“The person you are

 calling cannot accept calls at this time; we’re sorry for any inconvenience this may cause.”).

          7.       On March 2, 2023 (at 10:47 AM) the undersigned called SINGH’s last known cell

 phone number (321-945-6096), and received a prerecorded message (“The person you are calling

 cannot accept calls at this time; we’re sorry for any inconvenience this may cause.”).

          8.       SINGH’s wife, Anisa Singh, retained Miami-based criminal defense attorney Scott

 B. Saul, Esq. (Fla. Bar 717525) in late 2020. On February 27, 2023, the undersigned spoke with

 Mr. Saul who confirmed that he is still representing Anisa Singh. Mr. Saul stated that Anisa Singh

 has not had any communications with SINGH since his missed court appearance (February 2,

 2021, in a related criminal matter), and that she does not hold any interest in HIGHRISE.




                                                     Page 2 of 5
 Commodity Futures Trading Commission v. Highrise Advantage, LLC, et al
 Case No.: 6:20-cv-01657
 Response to Order to Show Cause
Case 6:20-cv-01657-CEM-DAB Document 155 Filed 03/02/23 Page 3 of 5 PageID 1485




                                    ACCOUNTING OF FEE CHARGES

                                         Ciklin Lubitz Billing Records

          9.       At the time the undersigned began representing SINGH and HIGHRISE, he was

 affiliated with Ciklin Lubitz, West Palm Beach, Florida. Ciklin Lubitz ceased operations in May

 2022 and filed an Assignment for Benefit of Creditors (Fla. Stat. § 727.101, et seq.) at around that

 time.

          10.      The Assignment for Benefit of Creditors is being handled by Markowitz, Ringel,

 Trusty & Hartog, P.A. The undersigned has been communicating with Alan R. Rosenberg, Esq.,

 from that law firm in order to obtain the Ciklin Lubitz billing statements (see Exhibit 4 attached

 hereto). Mr. Rosenberg was able to retrieve the billing statements and sent them to the undersigned

 on March 2, 2023 (Exhibit 5 attached hereto).

                                     Nason Yeager, et al Billing Records

          11.      The undersigned joined Nason Yeager, et al in May 2022. Attached hereto as

 Exhibit 6 are billing statements for the period May 2022 to the present.

 Dated March 2, 2023

                                                                 Respectfully submitted,

                                                                 s/Jeffrey M. Garber
                                                                 Jeffrey M. Garber, Esq.,
                                                                 FBN: 102776
                                                                 NASON YEAGER GERSON HARRIS &
                                                                 FUMERO, P.A.
                                                                 3001 PGA Blvd., Suite 305
                                                                 Palm Beach Gardens, Florida 33410
                                                                 Phone: (561) 686-3307
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                                                                         lmcgowen@nasonyeager.com
                                                                 Attorneys for Highrise Advantage, LLC and
                                                                 Avinash Singh

                                                     Page 3 of 5
 Commodity Futures Trading Commission v. Highrise Advantage, LLC, et al
 Case No.: 6:20-cv-01657
 Response to Order to Show Cause
Case 6:20-cv-01657-CEM-DAB Document 155 Filed 03/02/23 Page 4 of 5 PageID 1486




                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 2, 2023, I caused a copy of the foregoing, Response
 to the Court’s Order to Show Cause and Notice Of Hearing Dated February 28, 2023 to be
 filed on the electronic CM/ECF system for the Middle District of Florida, which will cause a true
 and correct copy to be sent electronically to each of the following:
  Attorney for Plaintiff                                   Attorney for Defendants Daniel
  Susan B. Padove                                          Cologero and Green Knight
  Trial Counsel                                            Investments, LLC
  Senior Trial Attorney                                    Matt Mueller
  Attorney for Plaintiff                                   Fogarty Mueller Harris, PLLC
  Commodity Futures Trading                                100 E. Madison Street, Suite 202
  Commission                                               Tampa, FL 33602
  77 West Jackson Blvd., Suite 800                         (813) 682-1730 phone
  Chicago, IL 60604                                        (813) 682-1731 fax
  Tel. (312) 596-0544                                      matt@fmhlegal.com
  Cell: (202) 390-6885
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  spadove@cftc.gov


    Attorney for Defendants Daniel                         Attorney for Defendants Randy Rosseau
    Cologero and Green Knight                              and Bull Run Advantage, LLC.
    Investments, LLC
                                                           Douglas D. Marks, P.A.
    Matt Mueller
    Fogarty Mueller Harris, PLLC                           310 5th Ave.
    100 E. Madison Street, Suite 202                       Indialantic, FL. 32903-0790
    Tampa, FL 33602                                        (321) 419-0948
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     Attorneys for Defendants Surujpaul                     Attorney for Defendants Hemraj Singh
     Sahdeo and SR&B Investment                             and King Royalty LLC
     Enterprises, Inc.                                      Clifford J. Geismar
     Henry B. Handler                                       The Law Office of Clifford J. Geismar,
     William J. Berger                                      PA
     David K. Friedman                                      Crealde Business Center
     Weiss, Handler, & Cornwell, P.A.                       2431 Aloma Avenue, Suite 109
     2255 Glades Road, Suite 205-East                       Winter Park, FL 32792
     Boca Raton, FL 33431                                   407-673-1087
     (561) 997-9995 phone                                   Phone: 407-673-1087

                                                     Page 4 of 5
 Commodity Futures Trading Commission v. Highrise Advantage, LLC, et al
 Case No.: 6:20-cv-01657
 Response to Order to Show Cause
Case 6:20-cv-01657-CEM-DAB Document 155 Filed 03/02/23 Page 5 of 5 PageID 1487




     (561) 997-5280 fax                                     Fax: 407-673-0375
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     wjb@whcfla.com
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          and
     Hal K. Litchford                                     Sent via U.S. Mail & Email
     Baker, Donelson, Bearman, Caldwell &                 Avinash Singh
     Berkowitz, PC                                        4925 Cypress Hammock Drive
                                                          St. Cloud, Florida 34771
     200 South Orange Ave,
                                                          avisingh19821@gmail.com
     Post Office Box 1549                                 321-945-6096
     Orlando, FL 32802-1549                               407-279-8596
     (407) 422-6600                                       718-290-0921
     hlitchford@bakerdonelson.com


  Sent via U.S. Mail & Email                              Sent via U.S. Mail & Email
  Highrise Advantage, LLC                                 Highrise Advantage, LLC
  6900 Tavistock Lakes Blvd.                              c/o Avinash Singh
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  Orlando, Florida 32827                                  St. Cloud, Florida 34771
  avisingh19821@gmail.com                                 avisingh19821@gmail.com




                                                                 s/Jeffrey M. Garber
                                                                 Jeffrey M. Garber




                                                     Page 5 of 5
 Commodity Futures Trading Commission v. Highrise Advantage, LLC, et al
 Case No.: 6:20-cv-01657
 Response to Order to Show Cause
